                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

DAVID DELL’AQUILA,                                )
LORANNDA BORJA,                                   )
TODD CHESNEY, and                                 )
BRENT WEBER, on behalf of themselves              )
and all others similarly situated,                )
                                                  )
       Plaintiffs,                                )
                                                  )
       v.                                         )          No. 3:19-cv-00679
                                                  )
WAYNE LAPIERRE, the NATIONAL                      )          Judge Campbell
RIFLE ASSOCIATION OF AMERICA,                     )          Magistrate Judge Frensley
and the NRA FOUNDATION, INC.,                     )
                                                  )          JURY DEMAND
       Defendants.                                )


     MEMORANDUM IN SUPPORT OF NRA FOUNDATION, INC.’S MOTION TO
          DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT


       Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure, Defendant

NRA Foundation, Inc. (“NRA Foundation”) submits this Memorandum in Support of its Motion

to Dismiss Plaintiffs’ Second Amended Complaint (D.E. 43). As explained below, Plaintiffs have

not cured any of the legal deficiencies from the First Amended Complaint, and the Court should

grant the NRA Foundation’s Motion for three independent reasons: (1) Plaintiffs lack standing

because: (i) they are not authorized under Tennessee law to challenge a nonprofit corporation’s

authority to act; and (ii) as donors of unrestricted charitable funds, they cannot challenge the NRA

Foundation’s subsequent administration of those funds; (2) the Second Amended Complaint does

not comply with the heightened pleading requirements of Rule 9(b); and (3) Plaintiffs have not

plausibly alleged the elements of their fraud and RICO claims against the NRA Foundation

(Counts II and IV).




   Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 1 of 16 PageID #: 236
                                   I.      INTRODUCTION

       Plaintiffs’ third bite at the apple is still frivolous and lacks any legally cognizable claim

against the NRA Foundation. All of Plaintiffs’ claims center around the allegation that they made

unrestricted charitable donations to the NRA Foundation based on supposedly false “solicitations”

that those funds would be used for certain purposes. Without alleging any failure to fund those

purposes fully, Plaintiffs allege the NRA Foundation still somehow misused some (but not all)

donated funds by: (1) transferring money to the NRA (where it was allegedly misused); and (2)

contributing to two youth-oriented nonprofits. These allegations do not give rise to any cause of

action against the NRA Foundation. As detailed below, the Court should dismiss the Second

Amended Complaint against the NRA Foundation for three independent reasons:

       First, Plaintiffs lack standing. Tennessee law states that a nonprofit’s authority to act may

only be challenged by the Attorney General, a director, or member(s) in a derivative proceeding.

See Tenn. Code Ann. § 48-53-104. Plaintiffs are none of these things. Additionally, donors of

unrestricted charitable funds lack standing to later challenge how those funds are administered.

       Second, the Second Amended Complaint does not satisfy Rule 9(b)’s heightened pleading

standards. Although Plaintiffs allegedly made unrestricted charitable donations to the NRA

Foundation based on supposedly false or misleading “solicitations,” they do not specify a single

statement made by the NRA Foundation, identify the speaker(s), or state where/when the

statements were made.

       Third, Plaintiffs fail to plausibly allege the elements of their fraud and RICO claims. For

example, they do not allege the NRA Foundation knowingly made any false representations. Nor

is there any allegation the NRA Foundation ever made any “solicitations” via the U.S. Postal

Service. They also fail to identify any basis for inferring scienter (as required under RICO).




                                     2
   Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 2 of 16 PageID #: 237
                              II.    FACTUAL ALLEGATIONS

       Plaintiffs are putative class representatives and alleged donors and supporters of the NRA.

[D.E. 43, Second Am. Compl. at ¶¶ 36-40]. Although Plaintiffs bring claims against the NRA,

Wayne LaPierre, and the NRA Foundation, only Plaintiff David Dell’Aquila ever allegedly made

any donations to the NRA Foundation. [Id. at ¶¶ 37-39]. Mr. Dell’Aquila has not alleged,

however, that he made any of these donations subject to any restrictions or reversionary interests.

Thus, all of his charitable donations to the NRA Foundation were unrestricted gifts.

       Plaintiffs allege the NRA Foundation “solicited” these charitable donations for use in gun

safety education, promotion of shooter sports and hunter safety, fostering of wildlife conservation,

and protection of gun ownership rights (what they call the “NRA’s Core Mission”). [Id. at ¶¶ 80,

104]. Plaintiffs do not identify, however, a single “solicitation” made by the NRA Foundation—

even though they allege in conclusory fashion they “were exposed to” and “reasonably relied

upon” these unidentified “solicitations.” [Id. at ¶¶ 35-35]. Instead, they point to the NRA

Foundation’s mission statement, descriptions of grant funding, and “Donor Bill of Rights.” [Id. at

¶¶ 17-20]. The NRA Foundation’s mission statement, however, expressly provides that it may

contribute to a variety of causes—including youth education:

               Since our establishment in 1990, we’ve awarded nearly $398 million
               in grant funding in support of the shooting sports. These grants
               provide essential funding that benefits programs such as youth
               education, law enforcement training, hunter education,
               conservation, firearms and marksmanship training and safety, and
               much more.

[Id. at ¶ 17 (emphasis added); see also id. at ¶ 19 (describing the “general focus” but nonexclusive

scope of the NRA Foundation’s grant program)].

       As a result, Plaintiffs do not allege the NRA Foundation ever promised exclusively how it

would administer these funds. Instead, all of Plaintiffs’ claims hinge upon the allegation that the



                                     3
   Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 3 of 16 PageID #: 238
NRA Foundation used some (but not all) of these donated funds for other purposes. [See id. at

¶ 42 (“Instead of spending the donated money on the solicited purposes, Defendants used

significant portions of the donated funds for purposes unrelated to the NRA’s core mission.”). As

to the NRA Foundation, Plaintiffs allege the following uses of donated funds were somehow

improper:    (1) transferring money to the NRA (where it was allegedly misused); and (2)

contributing to two youth-oriented nonprofits. [Id. at ¶¶ 83, 107]. Plaintiffs do not allege,

however, that the NRA Foundation failed to disclose these expenditures or diverted funds raised

for specific programs or purposes.

        Plaintiffs do not bring any individual causes of action. Instead, they seek certification of

two separate classes: (1) persons who donated funds directly to the NRA; and (2) persons who

donated funds to the NRA Foundation. [Id. at ¶¶ 56-57]. The Second Amended Complaint brings

claims of fraud and RICO violations against all Defendants. [Id. at ¶¶ 69-114]. Plaintiffs seek

restitution of all donated funds as well as costs, punitive damages, and attorney’s fees. [Id. at ¶¶

86, 114].

                                  III.    LEGAL STANDARDS

A.      Article III Standing

        “Standing is a jurisdictional requirement. If no plaintiff has standing, then the court lacks

subject-matter jurisdiction.” State by & through Tennessee Gen. Assembly v. United States Dep’t

of State, 931 F.3d 499, 507 (6th Cir. 2019) (citations omitted). Thus, courts should dismiss

complaints for lack of subject matter jurisdiction under Rule 12(b)(1) if the plaintiff lacks standing

to bring suit. See, e.g., Lyshe v. Levy, 854 F.3d 855, 857 (6th Cir. 2017) (“Whether a party has

standing is an issue of the court’s subject matter jurisdiction under Federal Rule of Civil Procedure

12(b)(1).” (citations omitted)); Taylor v. KeyCorp, 680 F.3d 609, 612 (6th Cir. 2012) (affirming




                                       4
     Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 4 of 16 PageID #: 239
district court’s grant of Rule 12(b)(1) motion to dismiss for lack of standing); cf. Fed. R. Civ. P.

12(h)(3) (“If the court determines at any time that it lacks subject-matter jurisdiction, the court

must dismiss the action.”).

        Standing “ensure[s] that federal courts do not exceed their authority” and “limits the

category of litigants empowered to maintain a lawsuit in federal court to seek redress for a legal

wrong.” Spokeo, Inc. v. Robbins, 136 S. Ct. 1540, 1547 (2016). The “irreducible constitutional

minimum of standing” requires a plaintiff to show three elements:

               [A] plaintiff must show (1) it has suffered an “injury in fact” that is
               (a) concrete and particularized and (b) actual or imminent, not
               conjectural or hypothetical; (2) the injury is fairly traceable to the
               challenged action of the defendant; and (3) it is likely, as opposed to
               merely speculative, that the injury will be redressed by a favorable
               decision.

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000). When

a case “is at the pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’ each

element.” Spokeo, 136 S. Ct. at 1547 (quoting Warth v. Seldin, 422 U.S. 490, 581 (1975)). “[I]n

all standing inquiries, the critical question is whether at least one petitioner has ‘alleged such a

personal stake in the outcome of the controversy as to warrant his invocation of federal-court

jurisdiction.’” Horne v. Flores, 557 U.S. 433, 445 (2009) (quoting Summers v. Earth Island Inst.,

555 U.S. 488, 493 (2000)) (emphasis in original).

B.      Rule 12(b)(6)

        Dismissal pursuant to Rule 12(b)(6) is proper where a complaint lacks sufficient facts “to

state a claim [for] relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); accord Hensley Mfg. v. ProPride,

Inc., 597 F.3d 603, 609 (6th Cir. 2009). The plausibility standard requires “more than a sheer

possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678. That is, while a plaintiff



                                       5
     Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 5 of 16 PageID #: 240
need not plead “detailed factual allegations,” the complaint must allege facts sufficient “to raise a

right to relief above the speculative level.” Twombly, 550 U.S. at 555. Although well-pleaded

facts must be accepted as true, a “formulaic recitation of the elements of a cause of action will not

do.” Republic Bank & Trust Co. v. Bear Stearns & Co., 683 F.3d 239, 246-247 (6th Cir. 2012)

(quoting Twombly, 550 U.S. at 555). “[A] legal conclusion couched as a factual allegation need

not be accepted as true on a motion to dismiss, nor are recitations of the elements of a cause of

action sufficient.” Fritz v. Charter Twp. of Comstock, 592 F.3d 718, 722 (6th Cir. 2010) (internal

quotations and citations omitted).

                                        IV.     ARGUMENT

A.      Plaintiffs Lack Standing

        1.     Plaintiffs Lack Standing to Challenge the NRA Foundation’s Actions

        At bottom, Plaintiffs contend that the NRA Foundation’s use of some (but not all) donated

funds for purposes outside the “NRA’s Core Mission” is an ultra vires act. [See D.E. 43, Second

Am. Compl. at ¶¶ 62, 80-83, 104-106]. Under Tennessee law, however, a nonprofit corporation’s

authority to act may only be challenged by the Attorney General, a director, or by member(s) in a

derivative proceeding. See Tenn. Code Ann. § 48-53-104. Because Plaintiffs are none of these

things, they lack standing to challenge any of the NRA Foundation’s actions. See, e.g., Hughes v.

New Life Dev. Corp., 387 S.W.3d 453, 470 (Tenn. 2012) (“Tennessee law restricts the parties who

may challenge corporate action on the ground that the corporation lacks or lacked power to so act.

Those parties who may bring such challenges generally include the Attorney General and Reporter,

a director of the corporation, or a member of the corporation in a derivative proceeding. Simply

put, [plaintiffs] are not qualified to assert that [defendant’s actions are] invalid because such action

violates its charter.” (citing Tenn. Code Ann. § 48-53-104; 7A Fletcher Cyc. Corp. § 3448)); State




                                       6
     Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 6 of 16 PageID #: 241
ex rel. Adventist Health Care Sys./Sunbelt Health Care Corp. v. Nashville Mem’l Hosp., Inc., 914

S.W.2d 903, 908 (Tenn. Ct. App. 1995) (“The plaintiffs . . . lack standing to bring any challenge

to the sale . . . on grounds of either the reasonableness of the price or the corporation’s power to

sell . . . because they were not the Attorney General or directors or members of the corporation . .

. .”).   The Court should dismiss Plaintiffs’ Second Amended Complaint against the NRA

Foundation on these grounds alone.

         2.     Plaintiffs Lack Standing to Challenge the NRA Foundation’s Administration of
                Unrestricted Charitable Donations

         Plaintiffs, as ordinary donors, also lack standing to challenge the NRA Foundation’s

administration of donated charitable funds. Courts routinely dismiss cases for lack of standing

where (as here) a plaintiff makes an unrestricted charitable gift and then files suit to challenge the

administration of those donated funds. See, e.g., Wilding v. DNC Servs. Corp., 2017 WL 6345492,

at *5 (S.D. Fla. Aug. 25, 2017) (“The act of donating to an organization does not, of itself, create

a legally protected interest in the organization’s operations.” (citing Orient v. Linus Pauling Inst.

of Sci and Med., 936 F. Supp. 704, 707 (D. Ariz. 1996) (“Funding research does not automatically

confer a legally protected interest in that organization’s assets on a donor.”))); Leonard v.

Campbell, 189 So. 839, 840 (Fla. 1939) (observing that delivery of a gift “divest[s] the donor of

all present control and dominion over [the gift], absolutely and irrevocably”). 1

         Critically, Plaintiffs do not allege that they (or any putative class members) donated funds

to the NRA Foundation subject to any restrictions or reversionary interests. Because all of the




1
    See also Skokie Valley Prof’l Bldg., Inc. v. Skokie Valley Cmty. Hosp., 393 N.E.2d 510, 513-
    14 (Ill. 1979) (holding that “unrestricted contributions to charitable corporations do not provide
    donors with standing to challenge ultra vires acts of the corporation”); Hart v. Vitae Found.,
    Inc., 302 S.W.3d 133, 135 (Mo. Ct. App. 2010) (holding that donors did not have standing to
    bring an action enforcing the gift).


                                      7
    Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 7 of 16 PageID #: 242
donations alleged in the Second Amended Complaint were unrestricted gifts, Plaintiffs no longer

have any property interest in those funds. As a result, they lack standing to bring any action to

enforce the NRA Foundation’s administration of those donations. See, e.g., Carl J. Herzog

Found., Inc. v. Univ. of Bridgeport, 699 A.2d 995, 999 (Conn. 1997) (“[I]t is clear that the general

rule at common law was that a donor had no standing to enforce the terms of a completed charitable

gift unless the donor had expressly reserved a property interest in the gift.”); Iris J. Goodwin,

Donor Standing to Enforce Charitable Gifts: Civil Society v. Donor Empowerment, 58 Vand. L.

Rev. 1093, 1145 (2005) (“To return to the particulars of the current law with respect to donor

standing, nearly all the modern American authorities—decisions, model acts, statutes, and

commentaries—deny a donor standing to enforce a restricted gift to public charity absent express

retention of a reversion in the donative instrument.”). The Court should also dismiss Plaintiffs’

Second Amended Complaint on these grounds.

B.      Plaintiffs’ Second Amended Complaint Fails to Satisfy Rule 9(b)

        Beyond the standing issue, Plaintiffs’ Second Amended Complaint also fails to satisfy the

heightened pleading requirements for their fraud and RICO claims. 2 See Republic Bank, 683 F.3d

at 247 (stating that fraud-based claims are subject to heightened pleading standard because they

pose “a high risk of abusive litigation” (quoting Twombly, 550 U.S. at 569 n.14)); Heinrich v.

Waiting Angels Adoption Servs., Inc., 668 F.3d 393, 404 (6th Cir. 2012) (stating that the heightened

pleading standards of Rule 9(b) apply to RICO claims).

        “The purpose of Rule 9(b) is to provide fair notice to the defendant so as to allow him to

prepare an informed pleading responsive to the specific allegations of fraud.” Advocacy Org. for




2
     Rule 9(b) requires that “[i]n alleging fraud or mistake, a party must state with particularity the
     circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b).


                                       8
     Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 8 of 16 PageID #: 243
Patients & Providers v. Auto Club Ins. Ass’n, 176 F.3d 315, 322 (6th Cir. 1999) (citation omitted).

“Compliance with Rule 9(b) should be reviewed as to each of the elements of the claim of fraud

in a complaint and as to each of the named defendants.” Picard Chem. Inc. Profit Sharing Plan v.

Perrigo Co., 940 F. Supp. 1101, 1114 (W.D. Mich. 1996). Thus, Rule 9(b) requires plaintiffs:

“(1) to specify the alleged fraudulent statements; (2) to identify the speaker; (3) to plead when and

where the statements were made; and (4) to explain what made the statements fraudulent.”

Republic Bank, 683 F.3d at 247. “At a minimum, Rule 9(b) requires that a plaintiff set forth the

‘who, what, when, where, and how’ of the alleged fraud.” United States ex rel. Thompson v.

Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir. 1997) (cited with approval in

Sanderson v. HCA-The Healthcare Co., 447 F.3d 873, 877 (6th Cir. 2006)). It has been noted

elsewhere that “the purpose of [Rule 9(b)’s] particularity requirement is to ‘discourage a “sue first,

ask questions later” philosophy.’” Pirelli Armstrong Tire Corp. Retiree Med. Benefits Trust v.

Walgreen Co., 631 F.3d 436, 441 (7th Cir. 2011).

       Plaintiffs base their claims on allegations of unspecified “solicitations” that the NRA

Foundation would use donated funds for certain purposes (i.e., the “NRA’s Core Mission”).

Plaintiffs do not allege, however, that the NRA Foundation ever failed to fund these purposes.

Instead, they allege that after making unrestricted charitable donations, the NRA Foundation used

some (but not all) of these funds for “alternative purposes,” which involve: (1) transferring money

to the NRA itself (where it was allegedly misused); and (2) contributing to two youth-oriented

nonprofits. [D.E. 43, Second Am. Compl. at ¶¶ 83, 107].

       These general and conclusory allegations against the NRA Foundation do not meet Rule

9(b)’s particularity requirements. Plaintiffs fail to specify the “time, place, and content” of the

allegedly fraudulent misrepresentations. See Walburn v. Lockheed Martin Corp., 431 F.3d 966,




                                     9
   Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 9 of 16 PageID #: 244
972 (6th Cir. 2005).      Plaintiffs do not identify any specific statements made by the NRA

Foundation, the speaker, where and when the allegedly fraudulent “solicitations” were made, or

why they were allegedly fraudulent. The Court should dismiss Plaintiffs’ Second Amended

Complaint against the NRA Foundation because Plaintiffs fail to plead with particularity the

alleged fraud underlying their claims. See, e.g., House v. Bristol Myers Squibb Co., 2017 WL

55876, at *9 (W.D. Ky. Jan. 4, 2017) (“The Complaint does not specify the statements in question,

identify the speaker, or allege, beyond highly generalized allegations, when or where the alleged

statements were made. It therefore fails to meet Rule 9(b)’s particularity requirements.”).

C.      Plaintiffs Fail to Plausibly Allege the Elements of Fraud (Count II)

        In Count II, Plaintiffs allege the NRA Foundation committed “fraud” 3 by using their

unrestricted charitable donations for “alternative purposes” other than the “NRA’s Core Mission.”

[D.E. 43, Second Am. Compl. at ¶¶ 80-83]. A plaintiff asserting a claim for fraud under Tennessee

law, however, must plausibly allege the following six elements:

                (1) [T]he defendant made a representation of an existing or past fact;
                (2) the representation was false when made; (3) the representation
                was in regard to a material fact; (4) the false representation was
                made either knowingly or without belief in its truth or recklessly;
                (5) plaintiff reasonably relied upon the misrepresented fact; and (6)
                plaintiff suffered damage as a result of the misrepresentation.

PNC Multifamily Capital Inst. Fund v. Bluff City Cmty. Dev. Corp., 387 S.W.3d 525, 548 (Tenn.

Ct. App. 2012). In this case, Plaintiffs fail to plausibly allege at least five of these elements:

        (1) False Representation: In entirely conclusory fashion (and without specifying any

statements), Plaintiffs allege the NRA Foundation’s “solicitations” were false because some



3
     It is unclear whether Count II asserts a claim of common law fraud or fraudulent inducement.
     [D.E. 43, Second Am. Compl. at ¶¶ 78-86]. This is irrelevant to the Court’s analysis, however,
     because the elements lacking from Plaintiffs’ “fraud” claim overlap with the elements lacking
     from any fraudulent inducement claim.


                                       10
     Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 10 of 16 PageID #: 245
donated funds were used for “alternative purposes” outside the “NRA’s Core Mission.” [D.E. 43,

Second Am. Compl. at ¶¶ 80-83]. Plaintiffs do not allege, however, that the NRA Foundation ever

solicited funds for use exclusive to the “NRA’s Core Mission.” In fact, they allege the exact

opposite, as the NRA Foundation’s “Mission Statement” expressly states that it may contribute to

a variety of causes. [Id. at ¶ 17 (“These grants provide essential funding that benefits programs

such as youth education, law enforcement training, hunter education, conservation, firearms and

marksmanship training and safety, and much more.”); see also id. at ¶ 19 (describing the “general

focus” but nonexclusive scope of the NRA Foundation’s grant program).                  Plaintiffs’ own

allegations are fatal to their fraud claim.

        Similarly, Plaintiffs do not allege the NRA Foundation failed to devote sufficient resources

to the “NRA’s Core Mission.” Although Plaintiffs may take issue with some uses of their donated

funds, the NRA Foundation’s decision to devote resources to certain areas does not make its

alleged (yet unidentified) “solicitations” false. Nor does the NRA Foundation’s subsequent

decision to administer funds in a manner Plaintiffs disagree with render the alleged “solicitations”

false at the time they were made. Plaintiffs have failed to plausibly allege the NRA Foundation

made any false representation.

        (2) Materiality: “[A] statement is material or involves a material fact if it will likely affect

the conduct of a reasonable person.” Patel v. Bayliff, 121 S.W.3d 347, 353 (Tenn. Ct. App. 2003).

Because Plaintiffs do not allege the NRA Foundation ever failed to fund the “NRA’s Core

Mission,” they cannot plausibly allege that the NRA Foundation’s supposedly false “solicitations”

affected their conduct in any way. Plaintiffs have therefore failed to plausibly allege that the

NRA’s supposedly false representations were material.




                                     11
   Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 11 of 16 PageID #: 246
        (3) Knowledge of Falsity:         Similarly, Plaintiffs cannot plausibly allege the NRA

Foundation’s “solicitations” were knowingly false (or made without belief in their truth or

recklessly) because they never allege the NRA Foundation failed to fund the “NRA’s Core

Mission.” Plaintiffs have failed to plausibly allege this element as well.

        (4) Reasonable Reliance: Given the timeline alleged, Plaintiffs could not have reasonably

relied on the NRA Foundation’s supposedly false “solicitations.” Plaintiffs allege that from

November 30, 2015 to January 26, 2019, the NRA Foundation solicited funds for the “NRA’s Core

Mission.” [D.E. 43, Second Am. Compl. at ¶¶ 79-80]. Plaintiffs later allege, however, that the

NRA Foundation’s use of donated funds for “alternative purposes” began as early as 2009. [Id. at

¶ 83(a) (alleging the NRA Foundation transferred funds to the NRA “over a ten-year period”); id.

at ¶ 83(b) (alleging the NRA Foundation contributed funds to the Speedway Children’s Charity

for the past nine years)]. Taken as true, this means the NRA Foundation began funding these

“alternative purposes” years before it made any allegedly false statements. As a result, Plaintiffs

do not plausibly allege they reasonably relied on the NRA Foundation’s supposedly false

“solicitations.”

        (5) Damages: Plaintiffs’ only allegation related to damages is that they “incurred damages

as a result of the NRA Foundation’s expenditures, unrelated to its mission.” [Id. at ¶ 85]. This

conclusory assertion amounts to nothing more than “an unadorned, the-defendant-unlawfully-

harmed-me accusation,” Iqbal, 556 U.S. at 678, or “‘naked assertion[]’ devoid of ‘further factual

enhancement,’” id. (quoting Twombly, 550 U.S. at 557), of the type the Supreme Court has deemed

insufficient to state a claim for relief that is plausible on its face. Plaintiffs’ conclusory allegations

of unspecified damages “will not suffice” to state a cause of action. Edison v. Tenn. Dep’t of

Children’s Servs., 510 F.3d 631, 634 (6th Cir. 2007).




                                     12
   Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 12 of 16 PageID #: 247
D.      Plaintiffs Fail to Plausibly Allege the Elements of RICO (Count IV)

        In Count IV, Plaintiffs allege the NRA Foundation committed mail fraud in violation of 18

U.S.C. § 1341 by soliciting funds for certain purposes but using them for other “alternative

purposes.” [D.E. 43, Second Am. Compl. at ¶¶ 101-114]. To plead a RICO violation under 18

U.S.C. § 1962(c), 4 a plaintiff must plausibly allege: “(1) conduct (2) of an enterprise (3) through

a pattern (4) of racketeering activity.” Wallace v. Midwest Fin. & Mortg. Servs., Inc., 714 F.3d

414, 422 (6th Cir. 2013). Where (as here) a RICO claim is premised on mail fraud, a plaintiff must

plausibly allege: (1) a scheme to defraud involving use of mail; and (2) for the purpose of

executing the scheme. United States v. Frost, 125 F.3d 346, 354 (6th Cir. 1997).

        “Because RICO claims require proof of mail or wire fraud as an element, the plaintiff[]

must also satisfy the heightened particularity requirements of [Rule 9(b)] with respect to the

elements of fraud.” Wyndam Vacation Resorts, Inc. v. Consultant Grp., 2014 WL 1922791 at *11

(M.D. Tenn. May 14, 2014) (citing Jackson v. Sedgwick Claims Mgmt. Servs., Inc., 699 F.3d 466,

476 (6th Cir. 2012)). Thus, a plaintiff must allege specific affirmative misrepresentations and

identify the basis for inferring scienter to satisfy the heightened pleading standards of Rule 9(b).

See Kerrigan v. ViSalus, Inc., 112 F. Supp. 3d 580, 607 (E.D. Mich. 2015); see also Heinrich, 668

F.3d at 406 (“Rule 9(b) requires not only specifying the false statements and by whom they were

made but also identifying the basis for inferring scienter.”).

        In this case (and as discussed above), Plaintiffs’ Second Amended Complaint fails to allege

any specific affirmative misrepresentations or identify any basis for inferring scienter. Nor is there




4
     This section makes it “unlawful for any person employed by or associated with any enterprise
     engaged in, or the activities of which affect, interstate or foreign commerce, to conduct or
     participate, directly or indirectly, in the conduct of such enterprises’ affairs through a pattern
     of racketeering activity . . . .” 18 U.S.C. § 1962(c).


                                       13
     Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 13 of 16 PageID #: 248
any allegation the NRA Foundation ever made any “solicitations” via the U.S. Postal Service.

[See D.E. 43, Second. Am. Compl. at ¶¶ 27-34 (describing alleged “solicitations” the NRA—not

the NRA Foundation—sent via the U.S. Postal Service)].            Plaintiffs’ RICO allegations are

conclusory, speculative at best, and lack particularity. “As did Twombly, this case involves a

federal statute under which there is significant risk, absent careful review at the motion-to-dismiss

stage of proceedings, of plaintiffs transforming garden-variety commercial disputes into

something significantly more burdensome to the opposing party simply by invoking certain labels

in a complaint.” CSX Transp., Inc. v. Meserole St. Recycling, Inc., 570 F. Supp. 2d 966, 970 (W.D.

Mich. 2008). While Plaintiffs may now disapprove of the NRA Foundation’s allocations of its

resources, despite having previously provided the NRA Foundation with unrestricted donations,

nothing in the Second Amended Complaint remotely amounts to a plausible RICO claim—

especially one stated with Rule 9(b) particularity. The Court should dismiss Plaintiffs’ RICO claim

against the NRA Foundation on these grounds.

                                     V.      CONCLUSION

       Plaintiffs’ Second Amended Complaint does not cure any of the legal deficiencies from the

First Amended Complaint and states no valid claim against the NRA Foundation.             The Court

should dismiss Counts II and IV against the NRA Foundation with prejudice.




                                     14
   Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 14 of 16 PageID #: 249
Dated:     February 19, 2020             Respectfully Submitted,

                                         NEAL & HARWELL, PLC

                                          /s/ Aubrey B. Harwell, Jr.
                                         Aubrey B. Harwell, Jr. (BPR # 2559)
                                         John E. Quinn (BPR # 12220)
                                         William J. Harbison II (BPR # 33330)
                                         1201 Demonbreun Street, Suite 1000
                                         Nashville, TN 37203
                                         (615) 244-1713
                                         aharwell@nealharwell.com
                                         jquinn@nealharwell.com
                                         jharbison@nealharwell.com

                                         Counsel for Defendant NRA Foundation, Inc.




                                    15
  Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 15 of 16 PageID #: 250
                                 CERTIFICATE OF SERVICE

       I certify that I caused a true and correct copy of the foregoing to be electronically filed with

the Clerk of the Court on February 19, 2020, using the CM/ECF system, which will send

notification to all counsel of record as listed below.

      Counsel for the NRA and LaPierre                          Counsel for Plaintiffs:
                 Defendants:
                                                    SCHUCHARDT LAW FIRM
 LACY, PRICE & WAGNER, P.C.                         Elliott J. Schuchardt (BPR # 27016)
 Wallace A. McDonald (BPR # 16210)                  6223 Highland Place Way, Suite 201
 249 N. Peters Road, Suite 101                      Knoxville, TN 37919
 Knoxville, TN 37926                                (865) 304-4374
 (865) 246-0800                                     elliott016@gmail.com
 amcdonald@lpwpc.com

 BREWER, ATTORNEYS & COUNSELORS
 William A. Brewer IV (admitted pro hac vice)
 750 Lexington Ave., 14th Floor
 New York, NY 10022
 (212) 527-3024
 wbb@brewerattorneys.com



                                                         /s/ Aubrey B. Harwell, Jr.




                                     16
   Case 3:19-cv-00679 Document 47 Filed 02/19/20 Page 16 of 16 PageID #: 251
